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UNITED STATES DISTRICT COURT my h § §§
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Plaintiffs, )
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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

DALLAS DIVISION
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UNITED STATES OF AMERICA, EX REL. ) CIVIL ACTION NO.:
THOMAS PROSE, )
) QUI TAl\/l COMPLAINT
Plaintiffs, )
) JURY TRIAL DEMANDED
v. )
) FILED IN CAMERA AND
RELIANT REHABILITATION, ) UNDER SEAL PURSUANT
) TO 31 U.S.C. § 3730(B)(2)
Defendant. ) §
) ‘ »

 

I. INTRoDUc'rloN 8 - 1 6 UV ii 7 0 7 " D

Qul` T am Relator Thomas Prose, M.D., through his counsel, Robins Kaplan LLP, and on
behalf of the United States of America, brings this Complaint against Reliant Rehabilitation
(“Reliant”), and alleges based upon his own direct and independent knowledge:

l. This is an action to recover damages and civil penalties on behalf of the United
States of America, arising from false and/or fraudulent records, statements and claims made,
used and caused to be made, used, or presented by Reliant and its agents, predecessors,
successors, and employees in violation of the Federal Civil False Claims Act, 31 U.S.C. §§ 3729-
3733, as amended (the “FCA” or the “Act”).

2. Reliant contracts With rehabilitation hospitals, acute care facilities, and skilled
nursing facilities (“SNFS”), among other facilities, to provide rehabilitation services. Reliant
employees or contractors provide various rehabilitation services at or on behalf of the facility and
Reliant is compensated by the facility for those services. Many of those services are, in turn,

billed to federal healthcare programs by the facility.

 

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3. Asa means of securing contracts for rehabilitation services, Reliant offers
financial incentives that are prohibited by the F ederal Anti-Kickback Statute (“AKS”), 42 U.S.C.
§ 1320a-7b(b). These illegal kickbacks take at least two forms. Fl`rst, Reliant provides nurse
practitioner or physician’s assistant services to the facility either at no charge or for a nominal
fee that is substantially below fair-market value. These valuable services are offered on those
terms only on the condition of the facility’s commitment to refer its rehabilitation services to
Reliant. Many of those services are then billed to federal healthcare programs.

4. Second, Reliant offers facility physicians the opportunity to participate in a sham
program that is designed solely to disguise illegal cash payments More specifically, physicians
agree to “review” medical charts in exchange for monthly cash payments of around $1,000. That
payment is inconsistent with the fair market value of the physicians’ efforts. Indeed, upon
information and belief, Reliant does not use the reviews and assigns no value to them. And often
physicians receive payments without having completed the review. The physician payments are
conditioned on - and intended to induce ~ referrals of the facility’s rehabilitation services to
Reliant. Many of those services are then billed to federal healthcare programs.

II. JURISDICTION AND VENUE

5. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. § 1331, 28 U.S.C. § 1367 and 31 U.S.C. § 3732.

6. This Court has personal jurisdiction and venue over Reliant pursuant to 28 U.S.C.
§ 1391(b) and 31 U.S.C. § 3732(a) because those sections authorize nationwide service of
process and because Reliant has minimum contacts with the United States. Moreover, Reliant
transacts business in this District.

7. Venue is also proper in this District pursuant to 31 U.S.C. § 3731(a) because

Reliant can be found in, and conducts business in, this District. At all times relevant to this

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Complaint, Reliant has regularly conducted substantial business within this District, had
employees based in Texas, and made significant sales within Texas - including with the conduct
at issue in this Complaint.

III. THE PARTIES
A. Relator

8. Relator Dr. Thomas Prose is a resident of the state of Michigan and a citizen of
the United States.

9. Prose is the founder and owner of General Medicine P.C. General Medicine is a
collaborative practice of board-certified physicians and advanced nurse practitioners who
specialize in the care of post-acute care patients in long-term care facilities Among other things,
General Medicine provides “post-hospitalist” medical services, SNF program services, facility
medical director services, attending physician services, and advanced nurse practitioner services.

10. Prose earned his Medical Doctorate, his Master’s in Public Health, and his
Master’s in Business Administration from the University of Michigan. He has more than 30
years of experience in internal medicine, geriatrics and health care administration He founded
General Medicine in 1983. Prior to that, Prose was a medical director at Cigna Insurance
Company. He also served as a medical consultant and member of the board of directors to a
number of organizations, federal and state agencies, insurance carriers and health care systems.

11. For the reasons set forth in this Complaint, Prose is an “original source,” as that
term is used in the FCA. See 31 U.S.C. § 3730(e)(4)(B).

B. Reliant

12. Headquartered in Plano, Texas, and organized as a limited liability company
under the laws of the State of Texas, Reliant is a provider of contract rehabilitation management
services. According to its website, Reliant provides rehabilitation programs to over 400 “Acute

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Care Hospitals, Skilled Nursing Facilities, Subacute Facilities, LTACHS (Long Term Acute Care
Hospital), Rehab Hospitals, and CCRCs (Continuing Care Retirement Community) across the
United States.” See http.'//www.reliant-rehal).com/about-us (last visited on 3/10/16). Reliant
typically is compensated for these services by its facility customer, which, in turn, is reimbursed
for the same services from third-party payors, including federal healthcare programs

IV. APPLICABLE LAW

A. Medicare and Medicaid

13. Medicare and Medicaid were created to provide access to healthcare for elderly,
indigent or disabled residents of the United States.

14. Medicare is a federally funded and administered health insurance program that
provides benefits to certain groups The U.S. Department of Health and Human Services
(“HHS”) administers the Medicare program through the Centers for Medicare & Medicaid
Services (“CMS”).

15. The Medicare program is divided into four components: (1) Part A, the hospital
insurance benefits program, 42 U.S.C. §§ 1395c, 1395d; (2) Part B, the supplemental medical
insurance benefits program, which pays for a portion of certain medical and other services, 42
U.S.C. §§ 1395j, 1395k, 1395i; (3) Part C, the Medicare Advantage Program, which allows CMS
to contract with public and private entities to provide Medicare Parts A and B benefits to certain
beneficiaries, 42 U.S.C. § 1395w-21 et seq.; and (4) Part D, the voluntary prescription drug
benefit program, 42 U.S.C. § 1395w-101 et seq.

16. The Medicaid program was created in 1965 as part of the Social Security Act,
which authorized federal grants to states for medical assistance to low income persons, blind,
disabled, or members of families with dependent children or qualified pregnant women or

children. The Medicaid program is jointly financed by the federal and state governments CMS

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administers Medicaid at the federal level. Within broad federal rules, each state decides eligible
groups, types and range of services, payment levels for services, and administrative and
operating procedures. The states directly pay providers, with the states obtaining the federal
share of the payment from accounts which draw on the United States Treasury. 42 C.F.R. §§
430.0-430.30 (1994). The federal share of Medicaid expenditures varies by state and can
fiuctuate annually.

B. Medicare Coverage of Skilled Nursing Facility Rehabilitation Therapy

17. Medicare Part A generally covers inpatient hospital services, home health and
hospice care, and skilled nursing and rehabilitation care.

18. For Medicaid enrollees, skilled nursing and rehabilitation care is also a covered
service.

19. Subject to certain conditions, Medicare Part A covers up to 100 days of skilled
nursing and rehabilitation care for a benefit period (l`.e., spell of illness) following a qualifying
hospital stay of at least three consecutive days. 42 U.S.C. § 1395d(a)(2)(A); 42 C.F.R. §
409.6l(b), (c). Medicare Part B provides coverage for skilled therapy to beneficiaries who have
either exhausted their Part A benefit or are not otherwise entitled to Part A coverage.

20. For SNF services to be reimbursable under Medicare at least the following
conditions must be metz (1) the patient requires skilled nursing care or skilled rehabilitation
services (or both) on a daily basis, (2) the daily skilled services must be services that, as a
practical matter, can only be provided in a skilled nursing facility on an inpatient basis, and (3)
the services are provided to address a condition for which the patient received treatment during a
qualifying hospital stay or that arose while the patient received care in a skilled nursing facility
(for a condition treated during the hospital stay). 42 U.S.C. § 1395f(a)(2)(B); 42 C.F.R. §

409.31(b).

 

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21. Medicare requires that a physician or certain other practitioners certify that these
conditions are met at the time of a patient’s admission to the SNF and re-certify the patient’s
continuing need for skilled rehabilitation therapy services at regular intervals thereafter. See 42
U.S.C. § 1395f(a)(2)(B); Medicare General Information, Eligibility, and Entitlement Manual,
Ch. 4, § 40.3.

22. To be considered “skilled,” a service must be “So inherently complex that it can
be safely and effectively performed only by, or under the supervision of, professional or
technical personnel,” 42 C.F.R. § 409.32(a), such as physical therapists, occupational therapists,
or speech pathologists See 42 C.F.R. § 409.31(a).

23. Medicare Part A covers only those services that are “reasonable and necessary.”
See 42 U.S.C. § 1395y(a)(1)(A); see also 42 U.S.C. § 13200-5(a)(l) (providers must assure that
they provide services economically and only when, and to the extent, medically necessary); 42
U.S.C. § 13200-5(a)(2) (services provided must be of a quality which meets professionally
recognized standards of health care).

24. In the context of skilled rehabilitation therapy, this means that the services
furnished must be consistent with the nature and severity of the patient’s individual illness,
injury, or particular medical needs; must be consistent with accepted standards of medical
practice; and must be reasonable in terms of duration and quality. See Medicare Benefit Policy
Manual, Ch. 8 § 30.

25. To assess the reasonableness and necessity of those services and whether
reimbursement is appropriate, Medicare requires proper and complete documentation of the
services rendered to beneficiaries. In particular, the Medicare statute provides that:

No payment shall be made to any provider of services or other person under this
part unless there has been furnished such information as may be necessary in

 

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order to determine the amounts due such provider or other person under this part
for the period with respect to which the amounts are being paid or for any prior
period.

42 U.s.C. § 13951(@).

26. SNFs may elect to contract with third party suppliers of rehabilitation therapy
services, such as Reliant, to provide care to their residents These contracts are referred to as
“under arrangement” contracts

27. When a SNF has entered into an “under arrangement” contract with a therapy
services provider, such as Reliant, the supplier submits invoices to the SNF for the services it
provides to residents, and the SNF, in turn, submits the claim for those services to Medicare or
Medicaid. The therapy services supplier does not bill the payor directly.

28. Pursuant to the SNF Consolidated Billing requirements implemented as a part of
the Prospective Payment System (“PPS”), the SNF is responsible for including on its submission
almost all of the services that a resident receives during the course of his or her stay, even
services billed “under arrangement.”

29. For Part A beneficiaries the SNF submits claims for therapy services as part of
the Part A claims for the per diem assigned to that resident. As explained below, the Resource
Utilization Group (“RUG”) category for each Part A patient takes into account the facility’s costs
for services performed for Part A beneficiaries including the rehabilitation therapy services
performed “under arrangement.”

30. For Part B beneficiaries who are not eligible under Part A or who have exhausted
their Part A benefit, the SNF submits claims for payment for the therapy services under the
Medicare Fee Schedule (“MFS”). As explained further below, the MFS establishes a per-service
payment for individual therapy services based on time-based codes appropriate to the service

provided.

 

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31. Because therapy services are subject to Consolidated Billing requirements
regardless of whether beneficiaries are in a covered Part A stay, SNFS (and not the third party
supplier) submit claims to federal healthcare programs for all therapy services provided to
residents under Part A, Part B, and other government programs

B. Medicare Payment for Skilled Nursing Facility Rehabilitation Therapy

32. Under its PPS, Medicare pays a nursing facility a pre-determined daily rate for
each day of skilled nursing and rehabilitation services it provides to a patient. See 63 Fed. Reg.
26,252, 26,259-60 (May 12, 1998).

33. The daily PPS rate that Medicare pays a nursing facility depends, in part, on the
RUG to which a patient is assigned. Each distinct RUG is intended to reflect the anticipated costs
associated with providing nursing and rehabilitation services to beneficiaries with similar
characteristics or resource needs

34. There are generally five rehabilitation RUG levels for those beneficiaries that
require rehabilitation therapy; Rehab Ultra High (known as “RU”), Rehab Very High (“RV”),
Rehab High (“RH”), Rehab Medium (“RM”), and Rehab Low (“RL”).

35. The rehabilitation RUG level to which a patient is assigned depends upon the
number of skilled therapy minutes a patient received and the number of therapy disciplines the
patient received,during a seven-day assessment period (known as the “look back period”). The
chart below reflects the requirements for the five rehabilitation RUG levels under the RUG-III

classification system.

 

 

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Rehabilitation RUG Level Requirements to Attain RUG Level

 

RU = Ultra High Minimum 720 minutes per week total therapy combined from
at least two therapy disciplines; one therapy discipline must
be provided at least 5 days per week

 

RV = Very High Minimum 500 minutes per week total therapy; one therapy
discipline must be provided at least 5 days per week

 

RH = High Minimum 350 minutes per week total therapy; one therapy
discipline must be provided at least 5 days per week

 

RM = Medium Minimum 150 minutes per week total therapy; must be
provided at least 5 days per week but can be any mix of
therapy disciplines

 

RL = Low Minimum 45 minutes per week total therapy; must be
provided at least 3 days per week but can be any mix of
therapy disciplines

 

 

 

 

See 63 Fed. Reg. at 26,262.

36. Medicare pays the most for those beneficiaries that fall into the Ultra High RUG
level. The Ultra High (“RU”) RUG level is “intended to apply only to the most complex cases
requiring rehabilitative therapy well above the average amount of service time.” 63 Fed. Reg.
26,252, 26,258 (May 12, 1998).

C. Statements and Claims to Medicare for Payment of Skilled Nursing Facility
Rehabilitation Therapy

37. Medicare requires providers of skilled nursing facility rehabilitation therapy to
assess each patient’s clinical condition, functional status, and expected and actual use of services,
and to report the results of those assessments using a standardized tool known as the Minimum
Data Set (“MDS”). The MDS is used as the basis for determining a patient’s RUG level and,
therefore, the daily rate that Medicare will pay a nursing facility to provide skilled nursing

therapy to that patient.

 

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38. In general, a nursing facility must assess each patient and complete the MDS form
on the 5th, 14th, 30th, 60th, and 90th day of the patient’s Medicare Part A stay in the facility.
The date the facility performs the assessment is known as the assessment reference date. A
nursing facility may perform the assessment within a window of time before this date, or, under
certain circumstance, up to five days after. When a nursing facility performs its assessment
(except for the first assessment), it looks at the patient for the seven days preceding the
assessment reference date. As discussed above, this seven day assessment period is referred to as
the “look-back period.”

39. The MDS collects clinical information on over a dozen criteria, including hearing,
speech, and vision; cognitive patterns; health conditions; and nutritional and dental status
Section P of the MDS (“Special Treatments and Procedures”) collects information on how much
and what kind of skilled rehabilitation therapy the facility provided to a patient during the look-
back period. In particular, Section P shows how many days and minutes of therapy a nursing
facility provided to a patient in each therapy discipline (l'.e., physical therapy, occupational
therapy, and speech-language pathology and audiology services), As discussed below, the
information contained in Section P directly impacts the rehabilitation RUG level to which a
patient will be assigned

40. In most instances, the RUG level determines Medicare payment prospectively for
a defined period of time. See 63 Fed. Reg. at 26,267.] For example, if a patient is assessed in day
14 of his stay, and received 720 minutes of therapy during days 7 through 14 of the stay, then the
facility will be paid for the patient at the Ultra High RUG level for days 15 through 30 of the

patient’s stay.

 

' Payment for days 1 through 14 is based on the number of therapy minutes provided through the five-day
assessment, as well as an estimate of the number of minutes to be provided through day 14. See 63 Fed. Reg. at
26,265-67; 64 Fed. Reg. at 41,662.

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41. The nursing facilities electronically transmit the MDS form directly to CMS. 42
C.F.R. § 483.20(f)(3).

42. Completion of the MDS is a prerequisite to payment under Medicare. See 63 Fed.
Reg. at 26,265. The MDS itself requires a certification by the provider that states, in part: “To
the best of my knowledge, this information was collected in accordance with applicable
Medicare and Medicaid requirements 1 understand that this information is used as a basis for
ensuring that residents receive appropriate and quality care, and as a basis for payment from
federal funds.” Minimum Data Set (MDS) - Version 2.0 for Nursing Home Resident Assessment
and Care Screening.

43. A patient’s RUG information is incorporated into the Health Insurance
Prospective Payment System (HIPPS) code, which Medicare uses to determine the payment
amount owed to the nursing facility. The HIPPS code must be included in the CMS-1450, which
nursing facilities submit electronically to Medicare for payment See Medicare Claims
Processing Manual, Ch. 25, § 75.5. Medicare payment will depend largely on the HIPPS code
the nursing facility submitted as part of the CMS-1450 See 63 Fed. Reg. at 26,267; Medicare
Claims Processing Manual, Ch. 25, § 75.5.

44. Skilled nursing facilities submit the CMS-1450 electronically under Medicare
Part A to Medicare payment processors, known as Medicare Administrative Contractors,
formerly known as Fiscal lntermediaries.

D. Anti-Kickback Statute

45. The AKS, 42 U.S.C, § l320a-7b(b), is a criminal statute that prohibits anyone
from knowingly or willfully paying or receiving remuneration in exchange for referrals or the
purchase of any item or service that may be paid for by a federal healthcare program. The statute

arose out of congressional concern that payments or things of value provided to those who can

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influence healthcare decisions would result in goods and services being provided that are
medically unnecessary, of poor quality, or harmful to patients “Remuneration” under the AKS
has been broadly interpreted by courts to include anything of value ~ including office services
provided at less than fair market value.

46. After amendments enacted pursuant to the Affordable Care Act, the AKS now
specifically provides that a violation of the statute constitutes a false or fraudulent claim under
the FCA. 42 U.S.C. § 1320(g).

47. The Office of the Inspector General of HHS (“OIG”) has specifically warned that,
“[w]hile the mere placement of an . . . employee in [a customer’s] office would not necessarily
serve as an inducement prohibited by the anti-kickback statute, the statute is implicated when the
[employee] performs additional tasks that are normally the responsibility of the [customer’s]
office staff.” OIG Special Fraud Alert, 59 Fed. Reg. 65,372, 65,377 (Dec. 19, 1994); see also
OIG Advisory Opinion 98-16 (Nov. 3, 1998) (cautioning that, where a health care vendor assigns
an employee to work in a customer’s office and the employee provides services that the customer
otherwise would have to provide at its own expense, “an inference arises that one purpose of
[such an] arrangement is to induce or reward referrals”), available at
http://oig.hhs.gov/fraud/docs/advisoryopinions/1998/ao98_16.htm (last visited on 3/10/16).

V. RELIANT’S AKS VIOLATIONS

A. Reliant Provides Services for Free or at Below Fair Market Value to Induce
Referrals

48. With the intent of inducing SNFs and hospitals to hire Reliant to perform
rehabilitation services, Reliant offered facilities valuable nurse practitioner and physician’s

assistant services either at no charge or at rates well below fair market value. These efforts

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resulted in millions of dollars of rehabilitation claims being submitted to and paid by federal
healthcare programs

49. On February 10, 2014, a member of General Medicine’s management team
attended a demonstration of Reliant’s “Medical Management” pro gram. At the demonstration,
which took place at Meadowview HCC, a SNF located in Harrisonville, Missouri, Reliant
executives explained the program. These included Libby Pinnell, Reliant’s Vice President of
Business Development, as well as the company’s Vice President of Rehab services and its
Director of Clinical Services.

50. At that meeting, Reliant’s executives explained that, under its Medical
Management program, the company offers nurse practitioner services and physician’s assistant
services to facilities that contracted with Reliant to perform rehabilitation services The
practitioners that Reliant would provide to the facilities were employed by Reliant. But, on the
condition that the facility use Reliant to perform rehabilitation services for the facility’s patients
Reliant would make them available to the facility either at no charge, or at a contracted rate that
was well below fair market value for the services rendered. The executives characterized the
offering as a “Value Added Service,” claiming that it would ensure the ongoing success of the
company’s “healthcare partners.”

51. The cost of providing these nurse practitioner and physician’s assistant services
was significant to Reliant. The nurse practitioners and physician’s assistants would staff the
facility five days a week and remain on call to the facility’s physicians 24/7. One executive
estimated to Prose that the company lost around 82 million annually per community from giving
the services away. But, as Reliant knew and intended, the Medical Management program was a

remarkable profit generator because of the rehabilitation services contracts it generated for the

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company. Indeed, one Reliant executive estimated that the program led to at least an additional
$8 million in rehabilitation services revenue per community.

52. At the meeting, the Reliant executives described several examples where this
program had proved successful. The examples included SNFs in Texas, where the program
originated, as well as Louisiana. All told, the executives stated that the company had
implemented this program in hundreds of facilities around the country.

B. Reliant Offers Cash Payments to Doctors Pursuant to Sham Services Agreements

53. To further improperly encourage facilities to contract with Reliant, the company
also entered into sham services agreements with the facilities’ physicians

54. As part of the Medical Management program, physicians were given the
opportunity to earn extra money for minimal work. As the executives explained at the February
2014 meeting, if a facility’s physician agreed to “collaborate” with the nurse practitioners and
physician’s assistants that Reliant provided, the physician would receive a monthly “stipend” of
between $500 and $1,000. Of course, this “stipend” was conditioned on the facility’s contracting
with Reliant to perform rehabilitation services

55. In theory, the physician would be responsible for a cursory review of charts the
Reliant practitioners kept as part of the “collaboration.” But, upon information and belief, that
exercise was a mere cover for the real purpose of the payments Reliant made to the doctors - to
induce them to refer lucrative rehabilitation services to Reliant. And, as the executives made
clear at the February 2014 meeting, the plan worked. Hundreds of facilities hired Reliant to
perform millions of dollars of rehabilitation services for their patients - with many of those
services in turn being billed to and paid for by federal healthcare programs

56. Reliant’s executives confirmed at the February 2014 meeting that the company’s

illegal kickbacks took other forms as well and included other “value add services” such as

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paying 100% of joint marketing to local physicians and hospitals Reliant pitched these offerings
as having significant value to the prospective customers in their attempt to attract patients
COUNT I

Violations of the Federal False Claims Act
31 U.S.C. § 3729(a)(1)(A)

57. Prose repeats and realleges paragraphs 1-56, as if fully set forth herein.

5 8. Reliant knowingly presented, or caused to be presented, to an officer or employee
of the United States Government, false or fraudulent claims for payment or approval, in violation
of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A), specifically, claims for payment to Medicare
and Medicaid for rehabilitation therapy.

59. Reliant offered remuneration to providers to induce referrals for services paid for
by federal healthcare programs As a direct and foreseeable consequence of Reliant’s illegal
conduct, millions of dollars of claims were submitted by providers to Medicare and Medicaid for
rehabilitation therapy services Because those claims violated the AKS, they constitute violations
of the FCA as well.

60. Because of Reliant’s acts the United States sustained damages in an amount to be
determined at trial, and therefore is entitled to treble damages under the False Claims Act, plus
civil penalties of $11,000 for each violation.

COUNT II

Violations of the Federal False Claims Act
31 U.S.C. § 3729(a)(1)(B)

61. Prose repeats and realleges paragraphs 1-60, as if fully set forth herein.

62. Reliant knowingly made or caused to be made false records and statements

material to a false or fraudulent claim in violation of 31 U.S.C. § 3729(a)(1)(B).

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63. Specifically, Reliant offered remuneration to providers to induce referrals for
services paid for by federal healthcare programs As a direct and foreseeable consequence of
Reliant’s illegal conduct, millions of dollars of claims were submitted by providers to Medicare
and Medicaid for rehabilitation therapy services Because those claims violated the AKS, they
constitute violations of the FCA as well.

64. Because of Reliant’s acts the United States sustained damages in an amount to be
determined at trial, and therefore is entitled to treble damages under the False Claims Act, plus
civil penalties of $1 1,000 for each violation.

PRAYER FOR RELIEF
WHEREFORE, the Relator requests the following relief:

1. Judgment against Reliant for three times the amount of damages the United States
has sustained because of Reliant’s actions plus a civil penalty of 811,000 for each violation of
the False Claims Act, 31 U.S.C. §§ 3729-3733.

2. 25% of the proceeds of the action or settlement of the claim if the Government
proceeds with the action, and 30% of the proceeds of the action or settlement if the Government
does not proceed with the action. See 31 U.S.C. § 3730(d)(1)-(2).

3. Reasonable expenses which the Court finds to have been necessarily incurred,
plus reasonable attorneys’ fees and costs See 31 U.S.C. § 3730(d)(1)-(2).

4. Such other relief as the Court deems just and appropriate

Demand for Jur_'y Trial

Pursuant to Rule 38 of the F ederal Rules of Civil Procedure, Relator hereby demands a

trial by jury.

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Dated: March 11, 2016

By;.,d+.Cd.C&_

 

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Attorneys for Relator Dr. Thomas Prose

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CIVIL COVER SHEET

The ._lS 44 civil cover sheet and the information contained herein neither retplace nor supplement the filin and service ol" pleadings or other papers as re uired by law, except as
provided by local rules of'court. This form, approved by the iudicial Cori erence of the nited States in eptember |974, is required for the use of the lcrk ofC`ourt for the
purpose of initiating the civil docket sheet (SEE lNSTRUCT/ONS ON NEXI`!'AGJ~.` O}" 'l`HlS P`()le\%) n

i. (_a) PLAiNTIFFS DEFENDANTS
United States of America, Ex Rel. Thomas Prose Reliant Rehabi|itation
County of Residence of First Listcd Def`cndant CO"ll’\ CQl-""Wi T€Xas

(IN U.S. I’LAINTII"F CASES ONLY)

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JS 44-TXND (Rcv. 12112)

(b) County ofResi`dence ofFirst Listed plaintiff WaYn€ COUnt‘/i Michigan
(HXCEPTIN U.S. /’LAINT[FF CASES)

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(C) Altt'>mey$ (Firm Name. Addre.is, and '[`elephorie Numbed Aftorncy$ (lfKnown)

Steven Callahan, Anthony Garza
Charhon Callahan Robson & Garza, PLLC
3333 Lee Parkway, Suite 460, Dallas, TX 75219, 214-521-6400

 

 

 

 

 

 

    
   
 

      
   

     

    

 
            

  
   

   
  

       

      

    
   

    

 
 

      

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Proceeding State Court Appellate Court Reopened ?not;ij;r District i_.itigation
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31 U.S.C. 3729(a)(1)(A) and 31 U.S.C. 3 29(3)(’1)(§)

Brief description of causc: _ v
Vio|ation of the false claims act and violation of the federal ami-kickback statute

g CHECK iF TiiiS iS A CLASS ACTION DEMAND 8 l CHECK YES only if demanded in complaint
Unl<nown at this time

Vl. CAUSE OF ACTlON

 

Vll. REQUESTED iN

 

 

 

 

CQMPLAiNT: UNDER RULi-; 23. r.R.Cv.P. JuRY i)EMAND: lsi Yes Ci No
Viil. RELATED PENDING OR CLQS_E?D CASE(S)
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